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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 TABATHA JACKSON, et al.,                        )   CASE NO. 1:20-cv-02649
                                                 )
                                Plaintiffs,      )   JUDGE CHARLES E. FLEMING
                                                 )
 v.                                              )
                                                 )   ORDER GRANTING PLAINTIFFS’
 CUYAHOGA COUNTY, et al.,                        )   MOTION FOR EXTENSION OF TIME
                                                 )
                                Defendants.      )


       Plaintiffs requested a 90-day extension of all case management deadlines due to the death

of the mother of Plaintiffs’ counsel. (Doc. 36). Defendants did not take a position on the motion

for extension of time. (Doc. 37). The Court finds good cause for the motion and GRANTS

Plaintiffs’ motion. The Court will not grant future requests for extension of these deadlines without

exceptional circumstances. Any future request for continuance/extension by any party must

indicate whether it is opposed or unopposed.

       Plaintiffs’ depositions and Defendants’ Fed. R. Civ. P. 30(b)(6) depositions must be

completed by August 13, 2022. Plaintiffs’ expert reports must be completed by September 17,

2022. Defendants’ expert reports must be completed by November 1, 2022. The deadline to

complete class-certification discovery is November 4, 2022. The deadline to amend the class

definition without leave of the Court is November 26, 2022. Expert depositions must be completed

by December 30, 2022. Discovery must be completed by December 30, 2022. Plaintiff’s motion

to certify a class and/or all dispositive motions must be filed by February 1, 2023, with responses

due March 3, 2023, and replies due March 19, 2023.
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 IT IS SO ORDERED.

 Date: April 28, 2022


                                      HONORABLE CHARLES E. FLEMING
                                      UNITED STATES DISTRICT JUDGE
